












Affirmed and Memorandum Opinion filed July 29, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00913-CR

NO. 14-09-00918-CR

&nbsp;

____________

&nbsp;

MARCUS PURNELL WILHITE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 208th District Court

Harris County, Texas

Trial Court Cause Nos. 1141857 &amp;
1178148

&nbsp;



&nbsp;

MEMORANDUM
OPINION

Appellant entered pleas of guilty to two separate aggravated
robberies without an agreed recommendation on punishment.&nbsp; On September 24,
2009, the trial court sentenced appellant to confinement for fifteen years in
the Institutional Division of the Texas Department of Criminal Justice in each
case, with the sentences to be served concurrently. Appellant filed a timely notice
of appeal.

Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit. &nbsp;The brief meets the requirement
of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396 (1967), by presenting
a professional evaluation of the record and demonstrating why there are no
arguable grounds to be advanced. &nbsp;See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).

A copy of counsel’s brief was delivered to appellant. &nbsp;Appellant
was advised of the right to examine the appellate record and file a pro se
response. See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App.1991). &nbsp;More than forty-five days have passed, and appellant has not filed
a pro se brief in response..[1]

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit. &nbsp;Further, we find no reversible error in
the record. We are not to address the merits of each claim raised in an Anders
brief or a pro se response when we have determined there are no arguable
grounds for review. &nbsp;See Bledsoe v. State, 178 S.W.3d 824, 827–28 (Tex.
Crim. App. 2005).

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Yates and Boyce. 

Do Not Publish — Tex. R. App. P. 47.2(b).









[1]&nbsp; Appellant’s
only response to counsel’s brief was a letter stating that a court reporter was
present at his sentencing hearing.&nbsp; This court has confirmed that although the
court reporter was present, a record of the hearing had been waived.

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